                                               United States Bankruptcy Court
                                                  District of New Mexico
Yvette J. Gonzales,
         Plaintiff                                                                                Adv. Proc. No. 17-01042-j
John Sexton,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 1084-1                  User: cwilson                      Page 1 of 1                          Date Rcvd: Jul 03, 2019
                                      Form ID: pdfor1                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 05, 2019.
dft            +John Sexton,   3502 33rd Circle,   Rio Rancho, NM 87124-1931

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 05, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 3, 2019 at the address(es) listed below:
              David Alton Kelly   alton@kgeenergy.com
              Edward Alexander Mazel   on behalf of Plaintiff   Yvette J. Gonzales edmazel@askewmazelfirm.com,
               dwhite@askewmazelfirm.com;ericanunez@askewmazelfirm.com;maryvallejos@askewmazelfirm.com;askewmaze
               ladmin@ecf.courtdrive.com;jarratt@askewmazelfirm.com
              Jacqueline Ortiz    on behalf of Plaintiff   Yvette J. Gonzales jortiz@askewmazelfirm.com,
               maryvallejos@askewmazelfirm.com;ericanunez@askewmazelfirm.com;askewmazeladmin@ecf.courtdrive.com;
               jarratt@askewmazelfirm.com
              Wesley O Pool   on behalf of Debtor Kathryn Ramona Esquibel wesley@poollawfirm.com,
               mike@poollawfirm.com
                                                                                            TOTAL: 4




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                                                  IT IS ORDERED
                                                 Date Entered on Docket: July 3, 2019




                                                 ________________________________
                                                 The Honorable Robert H Jacobvitz
                                                 United States Bankruptcy Judge

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